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               EXHIBIT A
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                                                                                             USOO8020635B2


(12) United States Patent                                                    (10) Patent No.:              US 8,020,635 B2
       Radford                                                               (45) Date of Patent:                   *Sep. 20, 2011

(54)    EXPANDABLE REAMER APPARATUS                                           1,764,373 A      6/1930 Wells et a1.
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(75)    Inventor:     Steven R. Radford, The Woodlands, TX                    2,054,277 A      7/1933 wright
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(73) Assignee: TX
               Baker
                  (US)
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( * ) Notice:         Subject to any disclaimer, the term of this                                 (Continued)
                      patent is extended or adjusted under 35
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                      This patent is subject to a terminal dis-         EP               0707130 A2       4/1996
                      claimer-                                                                    (Continued)
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(22)    Filed;        Man 30, 2010                                      EPO Search Report prepared for the Belgian Patent Of?ce, applica
                                                                        tion N0. BE200300430, dated Mar. 1, 2006.
(65)                     Prior Publication Data                                                        _
                                                                                                  (Cont1nued)
        US 2010/0276199 A1            Nov. 4, 2010
                                                                        Primary Examiner * William P Neuder
                   Related U‘s‘ Application Data                        (74) Attorney, Agent, or Firm * TraskBritt
(63)    Continuation of application No. 11/875,241, ?led on
        Oct. 19, 2007, now Pat. No. 7,721,823, which is a               (57)                 ABSTRACT
        continuation Of application NO- 11/413,615, ?led on             An expandable reamer apparatus and methods for reaming a
        Apr-27’ 2006’ nOW_Pat_~ NO- 7308931 WhiCh is a                  borehole, wherein a laterally movable blade carried by a
        Commuanon Of apphcanon NO' 10/624’952’ ?led on                  tubular body may be selectively positioned at an inward posi
        Jul' 22’ 2003’ HOW pat' NO' 7’036’61 1'                         tion and an expanded position. The laterally movable blade,
(60)    Provisional application No. 60/399,531, ?led on Jul.            held inwardly by blade-biasing elements, may be forced out
        30, 2002.                                                       wardly by drilling ?uid selectively allowed to communicate
                                                                        therewith by way of an actuation sleeve disposed within the
(51)    Int- Cl-                                                        tubular body. Alternatively, a separation element may trans
        EZIB 10/32                (2006-01)                             mit force or pressure from the drilling ?uid to the movable
(52)    US. Cl. ......................... .. 175/57; 175/269; 175/406   blade. Further, a chamber in communication with the mov
(58)    Field of Classi?cation Search .................. .. 17 5/57 ,   able blade may be pressurized by way of a downhole turbine
                                  175/267, 269, 280, 291, 406           or pump. A ridged seal wiper, compensator, movable bearing
        See application ?le for complete search history.                pad, ?xed bearing pad preceding the movable blade, or
                                                                        adjustable spacer element to alter expanded blade position
(56)                     References Cited                               may be included within the expandable reamer. In addition, a
                                                                        drilling ?uid pressure response indicating an operational
                   US. PATENT DOCUMENTS                                 characteristic of the expandable reamer may be generated.
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                    FIG. 1A
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                                                          FIG. 1 B
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                               FIG. 1C
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                                   FIG. 1E
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             FIG. 1F
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                                     FIG. 11-)
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              FIG. 2A                              FIG. 23
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                                   FIG. 3
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    35a /




              325 j

                FIG. 4A                                       FIG. 4B
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                                   FIG. 5C
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                                                    FIG. 6B

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           FIG. 6A
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                            FIG. 7B
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                                 FIG. 8A
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                                   FIG. 8B
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              FIG. 9A                                     FIG. QB
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                                    FIG. 10
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